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                           UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                               OWENSBORO DIVISION
                       CRIMINAL ACTION NO. 4:10CR-00018-JHM(2)


 UNITED STATES OF AMERICA                                                               PLAINTIFF


 VS.


 CHRISTINA ANN GILLETTE                                                               DEFENDANT


                             REPORT AND RECOMMENDATION
                              CONCERNING PLEA OF GUILTY

        The Defendant, by consent, has appeared before me pursuant to Rule 11, Federal Rules of

 Criminal Procedure, and has entered a plea of guilty to Count 3 of the Indictment. After cautioning

 and examining the Defendant under oath concerning each of the subjects mentioned in Rule 11, I

 determined that the guilty plea was knowledgeable and voluntary and that the offenses charged are

 supported by an independent basis in fact containing each of the essential elements of such offenses.

 I, therefore, recommend that the plea of GUILTY be accepted and that the Defendant be adjudged

 GUILTY and have sentence imposed accordingly.

        ENTERED this February 25, 2011
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                                           NOTICE

        Failure to file written objections to this Report and Recommendation within fourteen (14)

 days from the date of its service shall bar an aggrieved party from attacking such Report and

 Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).

        Date of Service: February 25, 2011




 Copies:       Counsel of Record
               U.S. Marshal
               U.S. Probation
               Kelly Lovell, Courtroom Clerk
               Erica Skinner, Case Manager




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